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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
                                                 )
                                                 )
JOHN ABA YOMI OGUNYELERE,                        )
                                                 )
               Plaintiff,                        )   No. 4:20-CV-1057 RL W
                                                 )
       v.                                        )
                                                 )
THE CJS SOLUTIONS GROUP, LLC d/b/a               )
THE HCI GROUP,                                   )
                                                 )
               Defendant.                        )

                               MEMORANDUM AND ORDER

       On October 20, 2020, the parties filed their Joint Motion to Dismiss and Compel

Arbitration (ECF No. 10).      The parties state that they are bound by a Mutual Arbitration

Agreement, requiring the parties to submit to arbitration various claims that may exist. The

parties jointly request that the Court order the parties to proceed with arbitration pursuant to the

Mutual Arbitration Agreement.

       Accordingly,

       IT IS HEREBY ORDERED that Joint Motion to Dismiss and Compel Arbitration (ECF

No. 10) is GRANTED. The parties are ordered to pursue this action through arbitration under

the Mutual Arbitration Agreement. This case is DISMISSED without prejudice.



Dated this 21st day of October, 2020.




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                                                  UNITED STATES DISTRICT JUDGE
